Case 2:24-cv-01254-AMM Document 80-2 Filed 10/14/24 Page 1 of 4            FILED
                                                                  2024 Oct-14 AM 11:59
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




               EXHIBIT 31
    Emails Between Laney Rawls and Anna Barrett
Case 2:24-cv-01254-AMM Document 80-2 Filed 10/14/24 Page 2 of 4




                                                                  Ala00000392
Case 2:24-cv-01254-AMM Document 80-2 Filed 10/14/24 Page 3 of 4




                                                                  Ala00000393
Case 2:24-cv-01254-AMM Document 80-2 Filed 10/14/24 Page 4 of 4




                                                                  Ala00000394
